SO ORDERED.

SIGNED this 16th day of July, 2019.




____________________________________________________________________________




                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS
                                      Topeka

In re:                                                      )
                                                            )
JENNIFER KATHLEEN NWOKE                                     )
                                                            ) Case No. 19-40683
                                            Debtor,         ) Chapter 7
                                                            )
                                                            )
                                                            )
USAA FEDERAL SAVINGS BANK                                   )
                                                            )
                                            Creditor.       )

         ORDER GRANTING MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW USAA Federal Savings Bank, its subsidiaries, affiliates, predecessors in
interest, successors, and assigns (“Creditor”), by and through counsel, on its Motion for Relief
From Automatic Stay on the following described property:
         LOT 2, BLOCK 4, MILES HIDDEN LAKES ESTATES, SEDGWICK
         COUNTY, KANSAS
The above-described property is also known as 560 Westshore Dr, Wichita, KS 67209
(“Property”).




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          The Court FINDS that on June 24, 2019, Creditor provided the Debtor, Debtor’s Counsel,
Chapter 7 Trustee and the Office of the United States Trustee with an objection deadline of July
15, 2019, within which to file an objection to the entry of an order granting relief to Creditor.
          The Court further FINDS that the July 15, 2019, response deadline has expired and there
have been no objections filed with the Court.
          IT IS THEREFORE ORDERED that Creditor is hereby granted relief from the automatic
stay on the above-described property; that the property is hereby abandoned as an asset of the
bankruptcy estate, and that Creditor may exercise any and all rights provided under non-
bankruptcy law and as set forth in the Note and Mortgage.
                                                                ###



Submitted by,

MARTIN LEIGH PC

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